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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS
                              EAST SAINT LOUIS DIVISION

MARION DIAGNOSTIC CENTER, LLC, et )
al.                               )
                                  )
           Plaintiffs,            )
                                  )
        v.                        )                   Case No. 3:18-cv-01059-NJR-RJD
                                  )
BECTON, DICKINSON, AND COMPANY, )                     Chief Judge Nancy J. Rosenstengel
et al.,                           )
                                  )
           Defendants.            )
                                  )


          MOTION TO WITHDRAW APPEARANCE AND REQUEST TO
     CEASE SERVICE OF NOTICES, ORDERS, PLEADINGS, AND DOCUMENTS

       Pursuant to Local Rule 83. l(g), the undersigned attorney respectfully moves to withdraw

her appearance as counsel of record in this case on behalf of Cardinal Health, Inc. and respectfully

requests that she be removed from the service list of attorneys in this case. The undersigned

attorney is retiring from practice.

       The appearance by other attorneys at Jones Day is unaffected by this request. Michelle K.

Fischer will continue to act as lead counsel for Cardinal Health, Inc.



Dated: December 16, 2020                      Respectfully submitted,
                                              /s/ Paula W. Render
                                              Paula W. Render
                                              JONES DAY
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                                              312-782-3939
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                                              Counsel for Cardinal Health, Inc.
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                               CERTIFICATE OF SERVICE

       I, Paula W. Render, certify that on December 16, 2020, I caused a true and correct copy of
the foregoing Motion to Withdraw Appearance and Request to Cease Service of Notices,
Orders, Pleadings, and Documents to be filed with the Clerk of the Court using the CM/ECF
system, which will send notice of the electronic filing to all counsel of record.




                                            /s/ Paula W. Render
                                            Paula W. Render

                                            Counsel for Cardinal Health, Inc.
